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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 ASSOCIATED INDUSTRIES INSURANCE                              :
 COMPANY, INC.,                                               :
                                              Plaintiff,      :     21 Civ. 3624 (LGS)
                                                              :
                            -against-                         :          ORDER
                                                              :
 WACHTEL MISSRY LLP, et al.,                                  :
                                              Defendants. :
                                                              :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, an Opinion and Order issued on September 8, 2022, granted Plaintiff’s

motion for judgment on the pleadings, subject to affirmative defenses. The Opinion and Order

required each Defendant to file a letter identifying and describing any affirmative defenses they

planned to pursue, which each Defendant did on September 15, 2022 (Dkt. Nos. 68-69). Plaintiff

filed a response to both letters on September 22, 2022 (Dkt. 71).

        WHEREAS, Defendant Wachtel Missry LLP filed a letter regarding an anticipated motion

for summary judgment on its affirmative defenses on September 28, 2022 (Dkt. 72), and Plaintiff

filed a response on October 5, 2022 (Dkt. 74). It is hereby

        ORDERED that Defendants’ letters are construed as a motion for summary judgment on

the affirmative defenses, and Plaintiff’s letters are construed as a cross-motion for summary

judgment on the affirmative defenses. It is further

        ORDERED that, no later than October 14, 2022, the parties shall jointly file all

communications between Plaintiff and Defendants referenced in the parties’ above-mentioned

filings or otherwise pertaining to the resolution of the motions.

Dated: October 6, 2022
       New York, New York
